Case 8:21-cv-01030-DOC-DFM Document 22 Filed 10/19/21 Page1iof1 Page ID#:114

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. SA CV 21-01030-DOC (DFMx) Date October 19, 2021

 

 

Title David Brent Adams et al v. City of Costa Mesa et al

 

 

Present: The Honorable DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

 

 

 

Deborah Lewman None Present
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR

LACK OF PROSECUTION

The Court, on its own motion, hereby ORDERS plaintiff, to show cause in writing no
later than October 26, 2021, why this action should not be dismissed for lack of prosecution as
to the remaining defendants. As an alternative to a written response by plaintiffs, the Court
will consider the filing of one of the following, as an appropriate response to this OSC, on or
before the above date:

Answer to the Complaint;
Request for Entry of Default; or
Notice of Voluntary Dismissal (F.R.Civ.P. 41)

I< I>< [><

Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P 4(m). The Court may dismiss the entire action prior to the
expiration of such time, however, if plaintiff has not diligently prosecuted the action.

It is plaintiffs responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If
necessary, plaintiffs must also pursue Rule 55 remedies promptly upon the default of any

defendant. All stipulations affecting the progress of the case must be approved by the Court.
Local Rule 7-1.

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiffs is due.

 

Initial of Deputy Clerk djl

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
